Case 2:04-cr-20409-.]DB Document 46 Filed 07/18/05 Page 1 of 2 Page|D 60

 

IN THE UNITED sTATES DISTRICT coURT -m-EDWJ{€`._/m
FOR THE wESTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 05 JUL |8 PH 52 Ol,
UNITED STATES oF AMERICA, CLEH<,US,H;MM
W‘D di `§ :¢.§CMPHS
vS.

NO. 04-20409-Ma
DEMARCUS ROGERS,

Defendant.

 

ORDER OF REFERENCE

Before the court is defendant's July 15, 2005, motion for

bond hearing.

This matter is hereby referred to the magistrate judge for a
hearing and determination.
It is So ORDERED this fs J/Lday of July, 2005.

M/(f/H/l`

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

 

on the docket sheet ln compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
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Honorable Samuel Mays
US DISTRICT COURT

